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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                             TYLER DIVISION

                                           §
WAUKEEM T. WILLIAMS,                       §
#27151-078                                 §
                                           §
v.                                         §     Case No. 6:19-cv-399-JDK-JDL
                                           §
UNITED STATES OF AMERICA                   §
                                           §

                                FINAL JUDGMENT
       The Court, having considered this case and rendered its decision by opinion

 issued this same date, hereby enters FINAL JUDGMENT.

       It is ORDERED that William’s motion to vacate, set aside, or correct his

 federal sentence pursuant to 28 U.S.C. § 2255 is DENIED, and this case is

 DISMISSED WITH PREJUDICE. Further, Williams is DENIED a certificate of

 appealability sua sponte. All pending motions are DENIED as MOOT.

       The Clerk of Court is instructed to close this case.

       So ORDERED and SIGNED this 12th day of January, 2021.



                                           ___________________________________
                                           JEREMY D. KERNODLE
                                           UNITED STATES DISTRICT JUDGE
